                      Case 23-90630 Document 1 Filed in TXSB on 06/01/23 Page 1 of 31


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Cancer Treatment Services Arizona LLC


                                                 Adult and Pediatric Urology; Cancer Resource Center; Casa Grande Surgery Specialists;
2. All other names debtor used
   in the last 8 years                           Gustavo Bani, MD; Millennium Physician Group; Urology Specialists; 21C-CG MergerSub, LLC


     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       2270 Colonial Blvd.
                                       Number              Street                                     Number         Street


                                                                                                      P.O. Box
                                       Fort Myers, Florida 33907
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Lee County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.genesiscare.com

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            Cancer Treatment Services Arizona LLC                               Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☒ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☐ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            6211

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☐      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor           Cancer Treatment Services Arizona LLC                                Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                      Relationship    Affiliate
                                                     Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                         District      Southern District of Texas
   List all cases. If more than 1,                                                                                  When            06/01/2023
   attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                        other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                         Number        Street



                                                                                         City                               State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                   ☐     50-99                        ☐       5,001-10,000                   ☒     50,001-100,000
    consolidated basis)               ☐     100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                      ☐     200-999




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           Cancer Treatment Services Arizona LLC                              Case number (if known)
          Name



15. Estimated assets (on a          ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)             ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on       ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)           ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                    ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                    ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of        petition.
    debtor
                                        I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on         06/01/2023
                                                             MM/ DD / YYYY


                                             /s/ Chad Gober                                                     Chad Gober
                                             Signature of authorized representative of debtor                Printed name

                                             Title    Authorized Signatory




18. Signature of attorney                    /s/ Matthew D. Cavenaugh                                       Date        06/01/2023
                                             Signature of attorney for debtor                                           MM/DD/YYYY



                                             Matthew D. Cavenaugh
                                             Printed name
                                             Jackson Walker LLP
                                             Firm name
                                             1401 McKinney Street, Suite 1900
                                             Number                 Street
                                             Houston                                                                Texas             77010
                                             City                                                                   State               ZIP Code

                                             (713) 752-4200                                                         mcavenaugh@jw.com
                                             Contact phone                                                             Email address
                                             24062656                                            Texas
                                             Bar number                                          State




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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   Fill in this information to identify the case:
                                                                       ,
   United States Bankruptcy Court for the:
                        Southern District of Texas
                                       (State)                                                   ☐ Check if this is an
   Case number (if                                                                                   amended filing
   known):                                          Chapter   11



                                                Rider 1
                 Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
 the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
 of the United States Code. The Debtors have moved for joint administration of these cases under the case
 number assigned to the chapter 11 case of Genesis Care Pty Limited.

Adelaide Radiotherapy Centre Pty. Ltd.                         GenesisCare Solutions US LLC
Arizona Radiation Therapy Management Services, Inc.            GenesisCare US Sponsor, LLC
Asheville CC, LLC                                              GenesisCare USA Group Holdings, Inc.
Atlantic Urology Clinics, LLC                                  GenesisCare USA Holdings, Inc
Aurora Technology Development, LLC                             GenesisCare USA Management Services, Inc.
Berlin Radiation Therapy Treatment Center, LLC                 GenesisCare USA of Alabama, LLC
Boynton Beach Real Estate, LLC                                 GenesisCare USA of Florida, LLC
California Radiation Therapy Management Services, Inc.         GenesisCare USA of Kentucky, LLC
Cancer Treatment Services Arizona LLC                          GenesisCare USA of Prince Georges County, Maryland, LLC
Carolina Regional Cancer Center, LLC                           GenesisCare USA of South Carolina, LLC
Delaware Radiation Therapy Management Services, Inc.           GenesisCare USA Services, LLC
EMROC Pty. Ltd.                                                GenesisCare USA Southwest Management Holdings, LLC
Financial Services of Southwest Florida, LLC                   GenesisCare USA, Inc.
Genesis Cancer Care Pty Ltd                                    Goldsboro Radiation Therapy Services, LLC
Genesis Cancer Care QLD Pty Limited                            Maryland Radiation Therapy Management Services, LLC
Genesis Cancer Care UK Limited                                 Nevada Radiation Therapy Management Services, Incorporated
Genesis Cancer Care Victoria Pty Ltd                           New England Radiation Therapy Management Services, Inc.
Genesis Cancer Care WA Pty Limited                             North Carolina Radiation Therapy Management Services, LLC
Genesis Care Finance Pty Ltd                                   Northwest Baltimore Radiation Therapy Regional Center, LLC
Genesis Care Pty Limited                                       Northwest Cancer Care Management Company, LLC
Genesis Specialist Care Finance UK Limited                     Oncure Holdings, Inc.
Genesis Specialist Care Holding UK Limited                     Radiation Oncology Associates Pty Limited
Genesis Specialist Care Pty Ltd                                Sampson Accelerator, LLC
Genesis Specialist Care UK Limited                             South County Radiation Therapy, LLC
Genesis Specialist Care UK No 2 Limited                        U.S. Cancer Care, Inc.
GenesisCare CRO US LLC                                         West Virginia Radiation Therapy Services, Inc.
GenesisCare of Texas, LLC
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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                       )
    In re:                                             )    Chapter 11
                                                       )
    CANCER TREATMENT SERVICES ARIZONA                  )    Case No. 23-___________(___)
    LLC,                                               )
                                                       )
                            Debtor.                    )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS1

                                                                                       Percentage of
               Equity Holder                    Address of Equity Holder
                                                                                        Equity Held
        Arizona Radiation Therapy                  2270 Colonial Blvd.
                                                                                           100%
        Management Services, Inc.                 Fort Myers, FL 33907




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 CANCER TREATMENT SERVICES ARIZONA                    )      Case No. 23-___________(___)
 LLC,                                                 )
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                 Shareholder                              Approximate Percentage of Shares Held
          Arizona Radiation Therapy
                                                                          100%
          Management Services, Inc.
                                                                                 Case 23-90630 Document 1 Filed in TXSB on 06/01/23 Page 8 of 31




Debtor Genesis Care Pty Limited                                                                                                                            Case number (if known)_____________________________________




    Fill in this information to identify the case:
    Debtor name: Genesis Care Pty Limited
    United States Bankruptcy Court for the: Southern District of Texas
    Case number (If known):                                                                                                                           Check if this is an
                                                                                                                                                       amended filing
    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
    Insiders 1                                                                                                       2/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by
    any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate
    collateral value places the creditor among the holders of the 30 largest unsecured claims.
    Name of creditor and complete mailing address,            Name, telephone number, and email             Nature of the claim     Indicate if claim is Amount of unsecured claim
    including zip code                                        address of creditor contact                   (for example, trade        contingent,       If the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                            debts, bank loans,       unliquidated, or claim is partially secured, fill in total claim amount and deduction for
                                                                                                           professional services,        disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                              and government
                                                                                                                 contracts)

                                                                                                                                                           Total claim, if      Deduction for value of
                                                                                                                                                          partially secured      collateral or setoff        Unsecured claim

   Oncology Supply                                            Lisa Harrison
   2801 Horace Shepard Drive                                  President
 1                                                                                                            Trade Payable                                                                                    $18,073,300
   Dothan, AL 36303                                           (334) 651-2093
   United States                                              lisa.harrison@amerisourcebergen.com

   Elekta Pty Limited
                                                              Gustaf Salford
   Kungstensgatan 18
                                                              President
 2 Box 7593                                                                                                   Trade Payable                                                                                    $13,632,703
                                                              +46 8587 254 00
   Stockholm, SE- 103 93
                                                              gustaf.salford@elekta.com
   Sweden
   Advanced Accelerator Applications
                                                              Giancarlo Benelli
   8 rue Henri Sainte-Claire Deville
                                                              Head of International Markets
 3 CS 10150                                                                                                   Trade Payable                                                                                     $9,182,860
                                                              +39 344 134 2509
   Rueil-Malmaison Cedex, 92563
                                                              giancarlo.benelli@adacap.com
   France
   Centrex Revenue Solutions LLC
                                                              Gira Shah
   501 South Flagler Drive
                                                              Chief Financial Officer
 4 Suite 600                                                                                                  Trade Payable                                                                                     $6,817,197
                                                              (410) 442-7789
   West Palm Beach, FL 33401
                                                              gira.shah@integraconnect.com
   United States

   Varian Medical Systems, Inc.                               Chris Toth
   3100 Hansen Way                                            Chief Executive Officer
 5                                                                                                            Trade Payable                                                                                     $6,419,766
   Palo Alto, CA 94303                                        (315) 453-4545
   United States                                              chris.toth@siemens.com

   Cardinal Health 414 LLC                                    Aaron Alt
   7000 Cardinal Place                                        Chief Financial Officer
 6                                                                                                            Trade Payable                                                                                     $4,009,308
   Dublin, OH 43017                                           (612) 761-1375
   United States                                              aaron.alt@cardinalhealth.com

   Tata Consultancy Services Ltd
                                                              Rajesh Gopinathan
   1240 E Diehl Rd
                                                              Chief Executive Officer
 7 #560                                                                                                       Trade Payable                                                                                     $2,915,367
                                                              (225) 296-8440
   Naperville, IL 60563
                                                              rajeshgopinathan@tcs.com
   United States

   Medical Services International                             Philip Luce
   164-178 Cromwell Road                                      Hospital Director (CEO)
 8                                                                                                            Trade Payable                                                                                     $2,550,995
   London, SW5 0TU                                            +44 0 20 7460 5700
   United Kingdom                                             philipluce@bupacromwellhospital.com

   Accuray Inc.                                               Suzanne Winter
   1310 Chesapeake Terrace                                    President
 9                                                                                                            Trade Payable                                                                                     $2,442,510
   Sunnyvale, CA 94089                                        (747) 235-9024
   United States                                              swinter@accuray.com

    GE HFS LLC                                                Catherine Estrampes
    PO Box 641419                                             President
 10                                                                                                           Trade Payable                                                                                     $2,175,930
    Pittsburgh, PA 15264-1419                                 (312) 463-2300
    United States                                             catherine.estrampes@ge.com




Official Form 204                                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                Page 1
                                                                       Case 23-90630 Document 1 Filed in TXSB on 06/01/23 Page 9 of 31




Debtor Genesis Care Pty Limited                                                                                                                  Case number (if known)_____________________________________




    Name of creditor and complete mailing address,   Name, telephone number, and email            Nature of the claim     Indicate if claim is Amount of unsecured claim
    including zip code                               address of creditor contact                  (for example, trade        contingent,       If the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                  debts, bank loans,       unliquidated, or claim is partially secured, fill in total claim amount and deduction for
                                                                                                 professional services,        disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                    and government
                                                                                                       contracts)

                                                                                                                                                 Total claim, if      Deduction for value of
                                                                                                                                                partially secured      collateral or setoff        Unsecured claim

    Baxter Healthcare Ltd                            Steve Maciejewski
    One Baxter Parkway                               Vice President
 11                                                                                                 Trade Payable                                                                                     $1,551,422
    Deerfield, IL 60015-4625                         (248) 924-6244
    United States                                    steven_maciejewski@baxter.com

    Alcura UK Ltd
                                                     Simon Jones
    2 The Heights
                                                     Head of Alcura
 12 Brooklands                                                                                      Trade Payable                                                                                     $1,267,625
                                                     +44 0 800 980 0686
    Weybridge, KT13 0NY
                                                     simon.jones@alliance-healthcare.co.uk
    United Kingdom

    Block Imaging Parts & Services LLC               Josh Black
    1845 Cedar Street                                President
 13                                                                                                 Trade Payable                                                                                     $1,204,494
    Holt, MI 48842                                   (517) 721-1682
    United States                                    joshblock@blockimaging.com

    Besse Medical Supply
                                                     Lisa Harrison
    9075 Centre Pointe Dr.
                                                     President
 14 Ste 140                                                                                         Trade Payable                                                                                     $1,193,175
                                                     (334) 651-2093
    West Chester, OH 45069
                                                     lisa.harrison@amerisourcebergen.com
    United States

    Prompcorp Pty Ltd                                Matthew Block
    72-92 Langford Street                            Chief Executive Officer
 15                                                                                                 Trade Payable                                                                                     $1,133,711
    Melbourne, VIC 3051                              (614) 278-90701
    Australia                                        matthewblock@prompcorp.com.au

    Sofie Inc.
                                                     Brian Schumer
    21000 Atlantic Blvd.
                                                     Chief Operating Officer
 16 Ste 730                                                                                         Trade Payable                                                                                     $1,099,236
                                                     (407) 455-6700
    Dulles, VA 20166
                                                     brian.schumer@sofie.com
    United States

    Deangelis Diamond Construction LLC               Reggie Morgan
    6635 Willow Park Drive                           Chief Operating Officer
 17                                                                                                 Trade Payable                                                                                      $987,914
    Naples, FL 34109                                 (239) 594-1994
    United States                                    reggiem@deangelisdiamond.com

    Quantum Pharmaceutical Limited
                                                     Hugh Collins
    Quantum House
                                                     Manager
 18 Hobson Industrial Estate                                                                        Trade Payable                                                                                      $974,799
                                                     +44 0 1207 279 400
    Burnopfield, County Durham, NE16 6EA
                                                     hughcollins@q-pharm.com
    United Kingdom
    TRACE3 LLC
                                                     Rich Fennessy
    7505 Irvine Center Drive
                                                     Chief Executive Officer
 19 Suite 100                                                                                       Trade Payable                                                                                      $954,897
                                                     (480) 948-6540
    Irvine, CA 92618
                                                     rich.fennessy@trace3.com
    United States
    Soliant Physician Staffing LLC
                                                     David Alexander
    5550 Peachtree Parkway
                                                     Chief Executive Officer
 20 Suite 500                                                                                       Trade Payable                                                                                      $951,837
                                                     (770) 888-8180
    Peachtree Corners, GA 30092
                                                     david.alexander@soliant.com
    United States

    Prudential Group Insurance                       Ken Tanji
    751 Broad Street                                 Chief Financial Officer
 21                                                                                                 Trade Payable                                                                                      $921,881
    Newark, NJ 07102                                 (973) 367-2986
    United States                                    ken.tanji@prudential.com

    RSA INC                                          Kenneth Wolff
    465 Forum Parkway                                Chairman
 22                                                                                                 Trade Payable                                                                                      $881,440
    Rural Hall, NC 27045                             (336) 416-5255
    United States                                    kwolff@rsa-inc.com

    Emcor Facilities Services Inc                    Michael Lacobucci
    9655 Reading Road                                Chief Financial Officer
 23                                                                                                 Trade Payable                                                                                      $849,202
    Cincinnati, OH 45215                             (610) 933-0970
    United States                                    michael_iacobucci@emcorgroup.com




Official Form 204                                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                  Page 2
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Debtor Genesis Care Pty Limited                                                                                                                        Case number (if known)_____________________________________




      Name of creditor and complete mailing address,       Name, telephone number, and email            Nature of the claim     Indicate if claim is Amount of unsecured claim
      including zip code                                   address of creditor contact                  (for example, trade        contingent,       If the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                        debts, bank loans,       unliquidated, or claim is partially secured, fill in total claim amount and deduction for
                                                                                                       professional services,        disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                          and government
                                                                                                             contracts)

                                                                                                                                                       Total claim, if      Deduction for value of
                                                                                                                                                      partially secured      collateral or setoff        Unsecured claim


      Name on File                                                                                          Deferred
 24                                                        Contact on File                                                         Unliquidated                                                              $763,844
      Address on File                                                                                     Compensation


    Forest Central Business Park Construction
                                                           Matt Austin
    55 Grandview Street
                                                           Financial Controller
 25 Suite 4, Level 1                                                                                      Trade Payable                                                                                      $755,302
                                                           +61 02 9988 3344
    Pymble NSW, 2073
                                                           matt@austequity.com.au
    Australia


      Name on File                                                                                          Deferred
 26                                                        Contact on File                                                         Unliquidated                                                              $747,477
      Address on File                                                                                     Compensation


    Converge Technology Solutions US LLC
                                                           Corey Reid
    85 rue Victoria
                                                           Chief Operating Officer
 27 2nd Floor                                                                                             Trade Payable                                                                                      $728,938
                                                           (403) 889-6934
    Gatineau, QC J8X 2A3
                                                           cory.reid@convergetp.com
    Canada

    Progenics Pharmaceuticals Inc                          Paul Blanchfield
    331 Treble Cove Road                                   President
 28                                                                                                       Trade Payable                                                                                      $715,290
    North Billerica, MA 01862                              (415) 298-9780
    United States                                          paul.blanchfield@lantheus.com



      Name on File                                                                                          Deferred
 29                                                        Contact on File                                                         Unliquidated                                                              $700,932
      Address on File                                                                                     Compensation


    Name on File
                                                           J. Travis Godwin
    Gunster Yoakley & Stewart P.A., C/O J. Travis Godwin                                                                           Contingent
                                                           Attorney
 30 401 East Jackson Street, Suite 2500                                                                      Litigation           Unliquidated                                                            Undetermined
                                                           (813) 228-9080
    Tampa, FL 33602                                                                                                                 Disputed
                                                           tgodwin@gunster.com
    United States




Official Form 204                                            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                  Page 3
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    Fill in this information to identify the case and this filing:

   Debtor Name          Cancer Treatment Services Arizona LLC

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       06/01/2023                                 /s/ Chad Gober
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Chad Gober
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                       OMNIBUS RESOLUTIONS OF THE BOARD

                                                     May 31, 2023

The board of managers, board of directors, sole member, managers, general partner, or managing member, as
applicable (the “Board”) of each of the entities listed on Exhibit A hereto (collectively, the “Company”), having
considered the (i) filing of a voluntary petition for relief under the provisions of chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”) for the Company, and if applicable, local proceedings for the Company,
pursuant to applicable law and in accordance with the requirements of the Company’s governing documents and
applicable law, and (ii) authorizing entry into and performance under the DIP Financing Documents as defined herein
((i) and (ii) together, the “Restructuring Matters”), has reviewed and considered certain materials presented by the
management of the Company and the Company’s financial and legal advisors, including, but not limited to, materials
regarding the liabilities and obligations of the Company, its liquidity, strategic alternatives available to it, and the
effect of the foregoing on the Company’s business, and has had adequate opportunity to consult such persons
regarding the materials presented, obtain additional information, and to fully consider each of the strategic
alternatives available to the Company and therefore be it RESOLVED THAT:

1.        VOLUNTARY PETITION FOR RELIEF UNDER APPLICABLE BANKRUPTCY LAW AND SEEKING NECESSARY
          RELIEF

     A. In the judgment of the Board, it is desirable and in the best interest of the Company, its interest holders, its
        creditors, and other parties in interest, that the Company file or cause to be filed voluntary petitions for
        relief (the “Bankruptcy Petitions”) under the provisions of the Bankruptcy Code for the Company and any
        of its subsidiaries and any applicable foreign ancillary proceedings for the Company; and in accordance with
        the requirements in the Company’s governing documents and applicable law, hereby consents to, authorizes
        and approves, the filing of the Bankruptcy Petitions and the foreign ancillary proceedings, if any; and

     B.   Any partner, director, manager, or other duly appointed officer of the Company (collectively,
          the “Authorized Persons”) be, and hereby are, authorized and appointed to act as signatory on behalf of the
          Company in respect of the Restructuring Matters and/or any person to whom such Authorized Persons
          and/or officers delegate such responsibilities is hereby authorized to execute (under the common seal of
          the Company, if appropriate) and file on behalf of the Company and its subsidiaries all petitions, schedules,
          lists, and other motions, papers, or documents, and to take any and all actions they deem necessary or
          proper to obtain such relief, including, but not limited to, any action necessary or proper to maintain the
          ordinary course operations of the Company and/or any of its subsidiaries.

2.        RETENTION OF PROFESSIONALS

     A. Each of the Authorized Persons, be, and hereby are, authorized, empowered, and directed to employ: (i) the
        law firm of Kirkland & Ellis LLP as general bankruptcy counsel; (ii) the law firm of Jackson Walker LLP as
        co-bankruptcy counsel; (iii) PJT Partners LP as investment banker; (iv) Alvarez & Marsal North America, LLC
        as restructuring advisor; (v) Kroll Restructuring Administration LLC as notice and claims agent; (vi) Herbert
        Smith Freehills LLP as foreign legal counsel; (vii) Teneo as communications advisor; and (viii) any other legal
        counsel, accountant, financial advisor, restructuring advisor, or other professional the Authorized Persons
        deem necessary, appropriate, or advisable to retain (the “Advisors”); each to represent and assist the
        Company in carrying out its duties and responsibilities and exercising its rights under the Bankruptcy Code
        and any applicable law (including, but not limited to, the law firms filing any pleadings or responses); and in
        connection therewith, the Authorized Persons be, and hereby are, authorized, empowered, and directed, in
        accordance with the terms and conditions hereof, to execute (under the common seal of the Company, if
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          appropriate) appropriate retention agreements, pay appropriate retainers, and to cause to be filed
          appropriate applications for authority to retain such services; and

     B.   Each of the Authorized Persons be, and hereby are, authorized, empowered and directed to execute (under
          the common seal of the Company, if appropriate) and file all petitions, schedules, motions, lists, applications,
          pleadings, and other papers, and to perform such further actions and execute (under the common seal of
          the Company, if appropriate) such further documentation that the Authorized Persons in their absolute
          discretion deem necessary, appropriate or desirable in accordance with these resolutions.

3.        USE OF CASH COLLATERAL, DEBTOR-IN-POSSESSION FINANCING, AND ADEQUATE PROTECTION

     A. To the extent applicable to the Company, in the business judgment of the Board it is desirable and in the
        best interest and to the further commercial benefit of the Company, its stakeholders, its creditors, and other
        parties in interest to obtain the benefits of (i) the use of cash collateral, as such term is defined in section
        363(a) of the Bankruptcy Code (“Cash Collateral”), which is security for certain of the Company’s prepetition
        secured lenders (the “Prepetition Secured Lenders”) under certain credit facilities by and among the
        Company, the guarantors party thereto, and the lenders party thereto; and (ii) the incurrence of debtor-in-
        possession financing obligations (“DIP Financing”) by entering into a that certain Senior Secured
        Superpriority Debtor-in-Possession Credit Agreement among the Company, the other Debtors party thereto,
        Kroll Agency Services Limited, as administrative agent (the “DIP Administrative Agent”), Kroll Trustee
        Services Limited (the “DIP Collateral Agent”, and together with the DIP Administrative Agent, the “DIP
        Agents”) and the other financial institutions and lenders party thereto (the “DIP Credit Agreement”, and the
        term loan facilities established under the DIP Credit Agreement, the “DIP Facility”), consistent with the terms
        and conditions set forth in that certain term sheet (the “DIP Term Sheet”);

     B.   In order to use and obtain the benefits of DIP Financing and the Cash Collateral, and in accordance with
          section 363 of the Bankruptcy Code, the Company will provide certain adequate protection to the
          Prepetition Secured Lenders (the “Adequate Protection Obligations”) as documented in the proposed
          interim order of the Bankruptcy Court, authorizing and approving on an interim basis, among other things,
          the DIP Financing and the transactions contemplated by the DIP Term Sheet (the “Interim DIP Order”) and
          the final order of the Bankruptcy Court authorizing and approving on a final basis, among other things, the
          DIP Financing and the transactions contemplated by the DIP Term Sheet in substantially the form of the
          Interim Order (the “Final DIP Order,” and together with the Interim DIP Order, the “DIP Orders”);

     C.   In order to use and obtain the benefits of the DIP Financing and Cash Collateral, the Company will also enter
          into such other agreements, certificates, instruments, receipts, petitions, motions, or other papers or
          documents required to consummate the transaction contemplated by the DIP Orders to which the Company
          is or will be a party, including, but not limited to, (1) that certain Senior Secured Superpriority Debtor-in-
          Possession Security Agreement, to be dated as of the same date as the DIP Credit Agreement, among the
          Debtors and the DIP Collateral Agent (the “US Security Agreement”), (2) the guarantee of the DIP Obligations
          (as defined below) pursuant to the DIP Credit Agreement (the “Guaranty”) and (3) any other security and
          pledge agreement, intercreditor agreement, or guaranty agreement (collectively with the DIP Term Sheet,
          the “DIP Financing Documents”);

     D. The Company will obtain benefits from the incurrence of the borrowings under the DIP Facility and the other
        obligations under the DIP Facility and the other DIP Financing Documents which are necessary and
        convenient to the conduct, promotion, and attainment of the business of the Company;

     E. To the extent applicable, the Company, as debtor and debtor in possession under the Bankruptcy Code be,
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     and hereby is, authorized to enter into the DIP Financing Documents and incur and perform the obligations
     thereunder (the “DIP Obligations”), including the borrowing of the loans under the DIP Facility, the Guaranty,
     and other obligations related to the DIP Financing and to undertake any and all related transactions on
     substantially the same terms as contemplated under the DIP Financing Documents, including granting liens
     on and security interests in its assets, including the Cash Collateral and Prepetition Collateral (each as defined
     in the DIP Financing Documents), to the DIP Agent, and each of the Authorized Persons be, and hereby are,
     authorized, empowered, and directed in the name of, and on behalf of, the Company to execute deliver, and
     perform all of the obligations and the transactions contemplated under each of the DIP Financing Documents
     in the name and on behalf of the Company, with such changes, additions, and modifications thereto as such
     Authorized Person shall approve, with such approval to be conclusively evidenced by such Authorized
     Person’s execution and delivery thereof;

F.   Each of the Authorized Persons be, and hereby are, authorized, in the name and on behalf of the Company,
     to take all such further actions, or cause all such further actions to be taken and to execute and deliver all
     such further agreements, documents, instruments, certificates recordings, and filings, in the name and on
     behalf of the Company, as in the determination of such Authorized Person shall be necessary, proper, or
     advisable in order to fully carry out the intent and accomplish the purposes of the foregoing resolutions and
     to consummate the transactions contemplated thereby, such authority to be conclusively evidenced by the
     execution of any document or the taking of any such action by such Authorized Person;

G. Each of the Authorized Persons be, and hereby are, authorized, in the name and on behalf of the Company,
   to enter into any guarantees as described or contemplated by the DIP Financing Documents or any other
   documents, certificates, instruments, agreements, security agreements, intercreditor agreements, any
   extension amendment, any incremental agreement, or any other amendment required to consummate the
   transactions contemplated by the DIP Financing Documents and perform its obligations thereunder and to
   guarantee the payment and performance of the DIP Obligations of the Company and any other guarantor
   thereunder;

H. Each of the Authorized Persons be, and hereby are, authorized, empowered, and directed in the name of,
   and on behalf of, the Company to incur the DIP Obligations and to approve the use of the Cash Collateral
   pursuant to the DIP Orders, and any Authorized Person be, and hereby is, authorized, empowered, and
   directed to negotiate, execute, and deliver any and all agreements, instruments, or documents, by or on
   behalf of the Company, necessary to implement the postpetition financing, including the Adequate
   Protection Obligations to the Prepetition Secured Lenders in accordance with section 363 of the Bankruptcy
   Code, as well as any additional or further agreements for entry into the DIP Financing Documents and the
   use of Cash Collateral in connection with the chapter 11 case, which agreements may require the Company
   to grant adequate protection and liens to the Prepetition Secured Lenders and each other agreement,
   instrument, or document to be executed and delivered in connection therewith, by or on behalf of the
   Company pursuant thereto or in connection therewith, all with such changes therein and additions thereto
   as any Authorized Person approves, such approval to be conclusively evidenced by the taking of such action
   or by the execution and delivery thereof;

I.   Each of the Authorized Persons be, and hereby are, authorized, directed, and empowered, in the name of,
     and on behalf of, the Company to take such actions and negotiate or cause to be prepared and negotiated
     and to execute, deliver, perform, and cause the performance of, each of the transactions contemplated by
     the DIP Financing Documents and such other agreements, certificates, instruments, receipts, petitions,
     motions, or other papers or required documents to which the Company is or will be party or any order
     entered into in connection with the chapter 11 case (together with the DIP Financing Documents,
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     collectively, the “Financing Documents”) and to incur and pay or cause to be paid all related fees and
     expenses, with such changes, additions and modifications thereto as an Authorized Person executing the
     same shall approve;

J.   The Company, as a debtor and debtor-in-possession under the Bankruptcy Code shall be, and hereby is,
     authorized, empowered, and directed to incur any and all obligations and to undertake any and all related
     transactions on substantially the same terms as contemplated under the Financing Documents, including
     granting liens on its assets to secure such obligations;

K. Each of the Authorized Persons, be, and hereby are, authorized, empowered, and directed in the name of,
   and on behalf of, the Company, to execute and deliver any amendments, supplements, modifications,
   renewals, replacements, consolidations, substitutions, and extensions of the postpetition financing or any
   of the Financing Documents or to do such other things which shall in his or her sole business judgment be
   necessary, desirable, proper, or advisable in order to perform the DIP Obligations and to give effect to the
   foregoing resolutions, which determination shall be conclusively evidenced by his or her or their execution
   thereof;

L.   Each of the Authorized Persons of the Company be, and hereby is, authorized, directed, and empowered in
     the name of, and on behalf of, the Company to file or to authorize the DIP Agent to file any Uniform
     Commercial Code (the “UCC”) financing statements, any other equivalent filings, any intellectual property
     filings and recordation, and any necessary assignments for security or other documents in the name of the
     Company that the DIP Agent deems necessary or appropriate to perfect any lien or security interest granted
     under the DIP Orders, including any such UCC financing statement containing a generic description of
     collateral, such as “all assets,” “all property now or hereafter acquired,” and other similar descriptions of like
     import, and to execute and deliver, and to record or authorize the recording of, such mortgages and deeds
     of trust in respect of real property of the Company and such other filings in respect of intellectual and other
     property of the Company, in each case as the DIP Agent may reasonably request to perfect the security
     interests of the DIP Agent under the DIP Orders;

M. Each of the Authorized Persons of the Company be, and hereby is, authorized, directed, and empowered in
   the name of, and on behalf of, the Company to: (a) prepare any amendments, waivers, consents,
   supplements, or other modifications under or to the DIP Financing Documents to which the Company is a
   party, including that certain consent request letter dated May 19, 2023, from Genesis Care Finance Pty Ltd
   to Kroll Agency Services Limited and Kroll Trustee Services Limited (the “Consent Request Letter”) and such
   Proposed Amendments as defined therein, which shall in their sole judgment be necessary, proper, or
   advisable to perform the Company’s obligations under or in connection with the DIP Orders or any of the
   other Financing Documents and the transactions contemplated therein and to carry out fully the intent of
   the foregoing resolutions and (b) execute and deliver such amendments, waivers, consents, supplements, or
   other modifications under such agreements or documents, the execution and delivery thereof by such
   Authorized Person to be deemed conclusive evidence of the approval and ratification thereof by such
   Authorized Person or that such Authorized Person deemed such standard to be met;

N. Each Authorized Person of the Company, any one of whom may take action without the joinder of any of
   the others, is hereby authorized, in the name and on behalf of the Company, respectively, to (a) prepare any
   amendments, waivers, consents, supplements, or other modifications under the DIP Financing Documents
   and/or all other agreements, instruments, documents, notices and certificates constituting exhibits to or
   that may be required, necessary, appropriate, desirable or advisable to be executed and delivered pursuant
   to the DIP Financing Documents or otherwise permitted thereunder or related thereto (each an “Additional
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          DIP Facility Document”) to which the Company is a party as may be necessary, convenient, advisable,
          desirable or appropriate at any time from time to time, which amendments, waivers, consents or
          supplements may provide for modifications or relief under such agreements or documents and may require
          consent payments, fees or other amounts payable in connection therewith, and (b) execute and deliver such
          amendments, waivers, consents, supplements, or other modifications under such agreements or documents
          as such Authorized Person shall deem to be necessary, convenient, advisable, desirable or appropriate, such
          execution and delivery by such Authorized Person to be conclusive evidence of his or her determination and
          approval of the necessity, appropriateness or advisability thereof; and

     O. The signature of any Authorized Person of the Company to each DIP Financing Document, and each
        Additional DIP Financing Document and any amendments, waivers, consents, supplements, or other
        modifications to which the Company is a party shall be conclusive evidence of the authority of such
        Authorized Person to execute and deliver such documents and (b) any person dealing with any Authorized
        Person of the Company in connection with any of the foregoing matters shall be conclusively entitled to rely
        upon the authority of such Authorized Person and by his or her execution of any document or agreement,
        the same shall be valid and binding obligations of the Company enforceable in accordance with its terms.

4.        FURTHER ACTIONS AND PRIOR ACTIONS

     A. The Board hereby authorizes any direct or indirect subsidiary of the Company or any entity of which the
        Company or any subsidiary of such Company is the sole member, general partner, managing member, or
        equivalent manager, as applicable, to take each of the actions described in these resolutions or any of the
        actions authorized in these resolutions, and none of the resolutions contained herein, or action taken in
        furtherance hereto, shall have or cause an adverse effect on any such subsidiary or the Company’s interest
        therein (including without limitation, any automatic dissolution, divestiture, dissociation, or like event under
        applicable law);

     B.   In addition to the specific authorizations heretofore conferred upon the Authorized Persons, the Authorized
          Persons, either individually or as otherwise required by the Company’s governing documents and applicable
          law, be, and each of them hereby is, authorized to execute (under hand or under the common seal of the
          Company if appropriate), acknowledge, deliver, and file any and all agreements, certificates, instruments,
          powers of attorney, letters, forms, transfer, deeds and other documents on behalf of the Company relating
          to the Restructuring Matters;

     C.   Each of the Authorized Persons (and their designees and delegates) be, and hereby is, authorized and
          empowered, in the name of and on behalf of the Company, to take or cause to be taken any all such other
          and further action, and to execute (under the common seal of the Company, if appropriate), acknowledge,
          deliver, and file any and all such agreements, certificates, instruments, and other documents and to pay all
          expenses, including but not limited to filing fees, in each case as in such Authorized Person’s or Authorized
          Persons’ absolute discretion, shall be necessary, appropriate, or desirable in order to fully carry out the
          intent and accomplish the purposes of the resolution adopted herein;

     D. The Board has received sufficient notice of the actions and transactions relating to the matters contemplated
        by the foregoing resolutions, as may be required by the governing documents of the Company, or hereby
        waives any right to have received such notice;

     E.   All acts, actions, and transactions relating to the matters contemplated by the foregoing resolutions done in
          the name of and on behalf of the Company, which acts would have been approved by the foregoing
          Resolutions except that such acts were taken before the adoption of these Resolutions, are hereby in all
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          respects approved, confirmed and ratified as the true acts and deeds of the Company with the same force
          and effect as if each such act, transaction, agreement, or certificate had been specifically authorized in
          advance by resolution of the Board, as applicable;

     F.   The Board and/or Authorized Person be, and each of them hereby is, authorized to do all such other acts,
          deeds and other things as the Company itself may lawfully do, in accordance with its governing documents
          and applicable law, howsoever arising in connection with the matters above, or in furtherance of the
          intentions expressed in the foregoing resolutions, including, but not limited to, the negotiation, finalization,
          execution (under hand or common seal, whether or not expressed to be a deed, as may be necessary or
          appropriate) and delivery of any other agreements, certificates, instruments, powers of attorney, letters,
          forms, transfer, deeds and other documents whatsoever as the individual acting may in his/her absolute and
          unfettered discretion approve, deem or determine necessary, appropriate or advisable, such approval,
          deeming or determination to be conclusively evidenced by said individual taking such action or the execution
          thereof; and

     G. Each of the Advisors be, and each of them hereby is, authorized to perform all acts in furtherance of the
        resolution approved herein.


5.        APPROVAL OF PARENT COMPANY

     A. The Board acknowledges that the resolutions above shall be subject to and conditional upon approval of the
        chapter 11 case and related resolutions by the board of directors of Genesis Care Pty Limited.


                                                [Signature pages follow]
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IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first above written.



                                                   Arizona Radiation Therapy Management
                                                   Services, Inc.
                                                   California Radiation Therapy Management
                                                   Services, Inc.
                                                   GenesisCare USA Management Services, Inc.


                                                   Nevada Radiation Therapy Management
                                                   Services, Inc.
                                                   New England Radiation Therapy Management
                                                   Services, Inc.
                                                   Northwest Baltimore Radiation Therapy
                                                   Regional Center, LLC
                                                   US Cancer Care, Inc.
                                                   West Virginia Radiation Therapy Services, Inc.


                                                   ByqLl)

                                                    arne: Chad Gober
                                                   Title: Director




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                                     GenesisCare USA, Inc., on behalf of itself and as
                                     sole member of
                                          Financial Services of Southwest Florida,
                                          LLC



                                     By: _/s/ Shaden Marzouk___

                                     Name: Shaden Marzouk, MD
                                     Title: Director


                                     By: _/s/ Alan Carr_________

                                     Name: Alan Carr
                                     Title: Director


                                     By: ____________________

                                     Name: Eric Rosenbach
                                     Title: Director


                                     By: ____________________

                                     Name: Constantine Mantz, MD
                                     Title: Director




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                                     GenesisCare USA Holdings, Inc.



                                     By: _/s/ Shaden Marzo___

                                     Name: Shaden Marzouk, MD
                                     Title: Director


                                     By: _/s/ Alan Carr__________

                                     Name: Alan Carr
                                     Title: Director


                                     By: ____________________

                                     Name: Eric Rosenbach
                                     Title: Director


                                     By: ____________________

                                     Name: Chad Gober
                                     Title: Director


                                     By: ____________________

                                     Name: Neal Goldman
                                     Title: Director




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                                     GenesisCare USA Group Holdings, Inc.



                                     By: _/s/ Shaden Marzouk___

                                     Name: Shaden Marzouk, MD
                                     Title: Director


                                     By: ____________________

                                     Name: Chad Gober
                                     Title: Director




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                                   Exhibit A

                                 Filing Entities




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1.   Arizona Radiation Therapy Management Services, Inc.
2.   Asheville CC, LLC
3.   Atlantic Urology Clinics, LLC
4.   Aurora Technology Development, LLC
5.   Berlin Radiation Therapy Treatment Center, LLC
6.   Boynton Beach Real Estate, LLC
7.   California Radiation Therapy Management Services, Inc.
8.   Cancer Treatment Services Arizona LLC
9.   Carolina Regional Cancer Center, LLC
10. Delaware Radiation Therapy Management Services, Inc.
11. Financial Services of Southwest Florida, LLC
12. GenesisCare CRO US LLC
13. GenesisCare of Texas, LLC
14. GenesisCare Solutions US LLC
15. GenesisCare US Sponsor, LLC
16. GenesisCare USA Group Holdings, Inc.
17. GenesisCare USA Holdings, Inc
18. GenesisCare USA Management Services, Inc.
19. GenesisCare USA of Alabama, LLC
20. GenesisCare USA of Florida, LLC
21. GenesisCare USA of Kentucky, LLC
22. GenesisCare USA of Prince Georges County, Maryland, LLC
23. GenesisCare USA of South Carolina, LLC
24. GenesisCare USA Services, LLC
25. GenesisCare USA Southwest Management Holdings, LLC
26. GenesisCare USA, Inc.
27. Goldsboro Radiation Therapy Services, LLC
28. Maryland Radiation Therapy Management Services, LLC
29. Nevada Radiation Therapy Management Services, Incorporated
30. New England Radiation Therapy Management Services, Inc.
31. North Carolina Radiation Therapy Management Services, LLC
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32. Northwest Baltimore Radiation Therapy Regional Center, LLC
33. Northwest Cancer Care Management Company, LLC
34. Oncure Holdings, Inc.
35. Sampson Accelerator, LLC
36. South County Radiation Therapy, LLC
37. U.S. Cancer Care, Inc.
38. West Virginia Radiation Therapy Services, Inc.




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